       Case 2:19-cr-00414-CAS Document 15 Filed 04/29/21 Page 1 of 1 Page ID #:133




                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                     CASE NUMBER
                                                   PLAINTIFF
                              v.                                     CR 19-00414-CAS-1
 Demetrius Alexander Smith,
                                                                  ORDER OF TEMPORARY DETENTION
                                                                    PENDING HEARING PURSUANT
               '                             DEFErrDANT(S).            TO BAIL REFORM ACT


    Upon motion of Defendant                                           ,IT IS ORDERED that a detention hearing
is set for 5/4/21                                                      ,at 10:00     ❑a.m./ ❑p.m. before the
Honorable Steve Kim                                                    ,in Courtroom (via VTC)

    Pending this hearing, the defendant shall be held in custody by the United States Marshal or
                                                                            and produced for the hearing.
                       (Other custodial officer)




Dated:         Apri129,2021
                                                   Steve Kim, U.S. Magistrate Judge




                     ORDER OF TEMPORARY DETENTION PENDING HEARING PURSUANT TO BAIL REFORM ACT
CR-66(10/97)                                                                                            Page 1 of 1
